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                                 No. 21-15295


  In the United States Court of Appeals for the Ninth Circuit
__________________________________________________________________

                       APACHE STRONGHOLD,
                        Plaintiff-Appellant,
                                  v.
                 UNITED STATES OF AMERICA, ET AL.,
                        Defendant-Appellee.
__________________________________________________________________
            Appeal from the United States District Court
                      for the District of Arizona
                     (2:21-cv-00050-PHX-SPL)
__________________________________________________________________
          BRIEF FOR THE CHURCH OF JESUS CHRIST OF
      LATTER-DAY SAINTS; THE GENERAL CONFERENCE OF
    SEVENTH-DAY ADVENTISTS; THE ISLAM AND RELIGIOUS
     FREEDOM ACTION TEAM OF THE RELIGIOUS FREEDOM
       INSTITUTE; AND THE CHRISTIAN LEGAL SOCIETY AS
    AMICI CURIAE SUPPORTING APPELLANT AND REVERSAL
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             CORPORATE DISCLOSURE STATEMENT

      Pursuant to Fed. R. App. P. 29(a)(4)(A) and 26.1, amici represent
that they have no parent entities and issue no stock.

     Dated: January 9, 2023                /s/ Alexander Dushku
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          IDENTITY AND INTEREST OF AMICI CURIAE1

     Amici are religious organizations representing millions of Ameri-

cans from diverse faith communities. While we cherish different religious

convictions, we are united in our commitment to defend religious free-

dom. This case holds implications beyond its effect on Native American

worship. At stake is whether the Religious Freedom Restoration Act

(RFRA) will remain a vibrant shield for religious freedom within this cir-

cuit. Because the panel’s decision contradicts the statutory text and

Supreme Court precedent, it should be rejected.

                      SUMMARY OF ARGUMENT

     RFRA is one of America’s premier civil rights laws. It prescribes the

compelling interest test as “a workable test for striking sensible balances

between religious liberty and competing prior governmental interests.”

42 U.S.C. § 2000bb(a)(5). Before applying that test, a court must deter-

mine whether the government has “substantially burden[ed] a person’s




1Both parties have consented to the filing of this amicus brief. Pursuant
to Fed. R. App. P. 29(a)(4)(E), amici affirm that no counsel for a party
authored this brief in whole or in part and that no person other than
amici or their counsel have made any monetary contributions intended
to fund the preparation or submission of this brief.
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exercise of religion.” Id. § 2000bb-1(a). That determination is the gateway

to review and potential relief.

     A divided panel of this Court held that RFRA offers no possibility

of relief from government-created burdens on the exercise of religion “un-

less the government imposes a penalty or denies a benefit.” Op. at 34

n.10. That holding misreads RFRA. Nowhere does the statute limit what

kind of government burdens merit relief—other than that they must be

substantial. Nor is an artificial limit on the meaning of substantial bur-

den the right way to avoid interfering with compelling government

interests. RFRA obligates a court to acknowledge when government ac-

tion puts a substantial burden on religious practice even if the

government can justify that action under the compelling interest test.

The panel was wrong to short-circuit the analysis that RFRA prescribes.

     The government pressed a second argument that would likewise

eviscerate RFRA. The United States contends that RFRA’s rule of con-

struction, which requires courts to apply RFRA to every provision of

federal law unless Congress exempts it expressly, conflicts with the prin-

ciple that no Congress may bind a later Congress. This argument, if

accepted, would prevent RFRA from safeguarding religious freedom for


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government actions undertaken after the statute’s adoption. But the

principle is irrelevant here. Supreme Court decisions apply RFRA to

later-enacted statutes, and RFRA does not bind later congresses. Con-

gress is free to exempt a statute from RFRA or to modify or repeal it.

     Nor did the contested land exchange bill repeal RFRA’s express rule

of construction by implication. Implied repeals are generally disfavored

and they require the later statute to express any implied repeal “mani-

festly” and “clearly.” The land exchange involving Oak Flat does neither;

it says nothing about RFRA or religious freedom. Not only that, but the

exchange appears in an appropriations rider—a legislative enactment

that almost never repeals an earlier statute by implication.

     Finally, it is worth recalling that the Supreme Court consistently

interprets RFRA generously and in keeping with its text. Proposed inter-

pretations distorting substantial burden or relaxing the government’s

duty to identify a truly compelling interest have been sternly rebuffed.

Rather, the Court has described RFRA as a robust protection for religious

freedom—a characterization that the Court’s precedents have made a liv-

ing reality. Since the panel diminished RFRA through misconstruction,

its decision should be rejected and the district court reversed.


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                                ARGUMENT

I. RFRA APPLIES TO EVERY KIND OF “SUBSTANTIAL BURDEN” IMPOSED
   BY THE FEDERAL GOVERNMENT ON RELIGIOUS EXERCISE—NOT ONLY
   BURDENS THAT APPEAR AS A PENALTY OR DENIAL OF BENEFITS.

  A. RFRA Offers Relief Whenever the Federal Government
     “Substantially Burdens the Exercise of Religion.”

     A divided panel of this Court held that the contested exchange of

federal lands “does not substantially burden Apache Stronghold within

the meaning of RFRA, even if [that exchange] does make it ‘impossible’

for Apache Stronghold’s members to worship on Oak Flat.” Op. 44. This

startling conclusion—that RFRA is impotent when the federal govern-

ment makes longstanding religious exercise impossible—is wrong. That

ruling rests on the false premise that RFRA does not operate unless the

government imposes a penalty or denies a benefit. It should be rejected.

     1. Proving that a federal law “substantially burden[s]” a person’s

exercise of religion is a precondition for invoking RFRA’s protections.

42 U.S.C. § 2000bb-1(a). Without such proof, there is no claim. It is vital

for the Ninth Circuit to get the substantial test right, or courts within

this circuit will routinely deny legal protection that RFRA guarantees.

     2. A well-established canon of statutory construction holds that

when a statute does not define disputed terms, courts give those terms

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“their ordinary, contemporary, common meaning.” Transwestern Pipeline

Co. v. 17.19 Acres of Prop. Located in Maricopa Cnty., 627 F.3d 1268,

1270 (9th Cir. 2010) (internal quotation marks and citations omitted). In

that quest, courts “may consult dictionary definitions.” Id. Courts also

consider the “language and design of the statute as a whole.” K Mart

Corp. v. Cartier, Inc., 486 U.S. 281, 291 (1988).

     Since RFRA does not define substantial burden, discerning its

meaning begins by looking at how the phrase appears in the statute:

   Start with RFRA’s chief rule and exception. The rule is that “Gov-
    ernment shall not substantially burden a person’s exercise of
    religion even if the burden results from a rule of general applicabil-
    ity” unless an exception allows it. 42 U.S.C. § 2000bb-1(a)
    (emphasis added). The sole exception says, “Government may sub-
    stantially burden a person’s exercise of religion only if it” satisfies
    the compelling-interest test. Id. § 2000bb-1(b) (emphasis added).

   Among other congressional findings, RFRA declares that “govern-
    ments should not substantially burden religious exercise without
    compelling justification.” Id. § 2000bb(a)(3) (emphasis added).

   One of RFRA’s purposes is “to provide a claim or defense to persons
    whose religious exercise is substantially burdened by government.”
    Id. § 2000bb(b)(2) (emphasis added).

   Another stated purpose is “to restore the compelling interest test as
    set forth in Sherbert v. Verner, 374 U.S. 398 (1963) and Wisconsin v.
    Yoder, 406 U.S. 205 (1972) and to guarantee its application in all
    cases where free exercise of religion is substantially burdened.” Id.
    § 2000bb(b)(1) (emphasis added). (More on this provision later.)


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Wherever substantially burdened and its cognates appear, RFRA adds no

qualifications other than uniting the noun burden with the adjective sub-

stantial.2

      A standard legal definition of burden is “[s]omething that hinders

or oppresses.” Burden, BLACK’S LAW DICTIONARY (10th ed. 2014). RFRA

attaches no condition to the kind of hindrance or oppression that it pro-

tects against. Any hindrance to or oppression on the exercise of religion

caused by the federal government comes within the definition. The word

substantially ensures that RFRA’s protections are not triggered by trivial

or negligible burdens. See 17 OXFORD ENGLISH DICTIONARY 67 (2d ed.

1989) (describing substantial as an “ample or considerable amount”). But

that is the sole limitation.

      Thus, statutory text and context, plus common usage, illuminate

the ordinary meaning of substantially burden. Any type of nontrivial,

considerable hindrance of the claimant’s exercise of religion by the fed-

eral government satisfies the threshold inquiry under RFRA.



2 The judicial relief provision adds nothing to this understanding. A bur-
den on religious exercise “in violation of this section” is self-evidently a
substantial burden on religious exercise that the government does not
justify under the compelling interest test. Id. § 2000bb-1(c).
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     This understanding is confirmed by Burwell v. Hobby Lobby Stores,

Inc., 573 U.S. 682 (2014). There, the United States contended that there

was no substantial burden on businesses who raised religious objections

to an administrative mandate requiring employee healthcare plans to

cover contraception: in the government’s opinion, “the connection be-

tween what the objecting parties must do … and the end that they find

to be morally wrong … is simply too attenuated.” Id. at 723. The Supreme

Court rejected this argument as a distraction from the pertinent inquiry

under RFRA—“whether the [government action] imposes a substantial

burden on the ability of the objecting parties to conduct business in ac-

cordance with their religious beliefs.” Id. at 724 (emphasis in original,

punctuation altered). RFRA requires courts to measure whether a bur-

den on religious practice is substantial by its effect on the exercise of

religion. Hobby Lobby rightly concluded that the burden on objecting

businesses was substantial because the government threatened multi-

million-dollar fines for noncompliance. Id. at 726. This objective standard

excludes specious arguments by the government and religious claimants

alike. The government cannot twist the meaning of substantial to justify

significant burdens on religious exercise. At the same time, religious


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claimants cannot invoke the compelling interest test to challenge legal

requirements that cause only trivial burdens.

     3. Consider how the panel’s interpretation of substantially burden

would affect RFRA’s operation even where the statute does not mention

that term. A provision labeled “Applicability” is a case in point. 42 U.S.C.

§ 2000bb-3. It states that RFRA “applies to all Federal law, and the im-

plementation of that law.” Id. § 2000bb-3(a). Obeying that categorical

requirement would be impossible if RFRA covered only rigid categories

like penalties and the denial of benefits. Another provision clarifies that

“Federal statutory law adopted after November 16, 1993 [RFRA’s adop-

tion date] is subject to [RFRA], unless such law explicitly excludes such

application by reference to [RFRA].” Id. § 2000bb-3(b). This provision

would also depart from the text if RFRA did not apply to certain kinds of

burdens on religious exercise caused by the federal government.3




3RFRA’s categorical bar on “burden[ing] any religious belief” has no rel-
evance in this case. Apache Stronghold’s claim arises out of a government
burden on its religious practices. Id. § 2000bb-3(c).
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    B. The Panel’s Reading of “Substantial Burden” Wars Against
       RFRA’s Text and Supreme Court Precedent.

      Despite this statutory text and structure, the panel concluded that

substantial burden covers only government actions that deny religious

believers a government benefit (as in Sherbert) or threaten them with

government penalties (as in Yoder). Op. 25. This truncated conception of

substantial burden does not reflect the statutory text.4 RFRA mentions

these decisions only once, where it says that the statute aims “to restore

the compelling interest test as set forth in [Sherbert and Yoder] and to

guarantee its application in all cases where free exercise of religion is

substantially burdened.” 42 U.S.C. § 2000bb(b)(1) (emphasis added). This




4 The panel’s decision likewise contradicts virtually identical language in
the Religious Land Use and Institutionalized Persons Act (RLUIPA).
Compare 42 U.S.C. § 2000cc(a) and 1(a) with id. § 2000bb-1(a). These
statutes operate under “the same standard.” Holt v. Hobbs, 574 U.S. 352,
358 (2015) (quoting Gonzales v. O Centro Espirita Beneficente Unio do
Vegetal, 546 U.S. 418, 436 (2006)). That RFRA mentions Sherbert and
Yoder, while RLUIPA does not, is a red herring. See Op. at 30. The panel
decision sets these two statutes on a collision course by denying relief to
Apache Stronghold for the complete destruction of sacred property de-
spite circuit precedents under RLUIPA holding that similar losses
constitute substantial burdens. See Int’l Church of the Foursquare Gospel
v. San Leandro, 673 F.3d 1059, 1067 (9th Cir. 2011) (citation omitted)
(substantial burden is a “significantly great restriction or onus”); Green
v. Sola Cnty. Jail, 513 F.3d 982, 988 (9th Cir. 2008) (an “outright ban on
a particular religious exercise” was a substantial burden).
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provision refutes the panel’s interpretation. RFRA describes Sherbert

and Yoder as the source of the compelling interest test—not as the source

of what “substantially burden” means. Any doubt on that point vanishes

with the final clause. It declares that RFRA seeks to “guarantee” the “ap-

plication” of the compelling interest test “in all cases where free exercise

of religion is substantially burdened.” Id. (emphasis added). Nothing in

there hints that substantial burden is limited to situations like Sherbert

and Yoder. Op. 27. RFRA references these decisions in passing as the

source of “the compelling interest test” that the statute was adopted “to

restore,” 42 U.S.C. § 2000bb(b)(1)—not as a way to limit when that test

applies. No other mention of those decisions appears in the statute.

     To support its result, the panel heavily leaned on Navajo Nation v.

U.S. Forest Service, 535 F.3d 1058 (9th Cir. 2008), see Op. 18–23. It holds

that RFRA “expressly adopted and restored” Sherbert (“governmental

benefits”) and Yoder (“civil or criminal sanctions”). 535 F.3d at 1069–70

(citing 42 U.S.C. § 2000bb(b)(1)). Under this interpretation, even devas-

tating burdens on religion—burdens that “would in fact make Apache

Stronghold’s members’ worship ‘impossible’”—lie beyond RFRA’s protec-

tive orbit unless they resemble the facts in Sherbert and Yoder. Op. 25.


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     Consider the extreme implications of this reasoning. If federal offi-

cials arbitrarily dynamited a synagogue on private property or barred

entrance into a church for Sunday services, depriving hundreds of the

ability to worship, the panel’s reading would afford no relief under RFRA

because the government’s action would neither deny “governmental ben-

efits” nor impose “civil or criminal sanctions.” The same would follow if

the federal Department of Education enacted a regulation forbidding

teachers from calling upon religious students. By the panel’s logic, these

and any number of other governmental actions that create serious—even

dire—religious hardships do not “substantially burden” the exercise of

religion. That is simply wrong under any ordinary reading.

     By repeating the errors of Navajo Nation, the panel misconstrued

Supreme Court precedent. Id. at 21. Specifically, the panel cited decisions

issued before Employment Division v. Smith, 494 U.S. 872 (1990) to sup-

port the view that substantial burden is a “term of art” limited to

government benefits and penalties. Op. 20–21 (citing Jimmy Swaggart

Ministries v. Bd. of Equalization, 493 U.S. 378, 391–92 (1990) and

Thomas v. Rev. Bd., 450 U.S 707, 717–18 (1981)). The panel added that




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Navajo Nation finds support in Lyng v. Northwest Indian Cemetery Pro-

tective Association, 485 U.S. 439 (1988) and Bowen v. Roy, 476 U.S. 693

(1986). Op. 22. These extrapolations from Supreme Court precedent are

deeply flawed.

     First, none of these decisions limits the meaning of substantially

burden to situations involving government penalties or the denial of ben-

efits. That Sherbert and Yoder happened to involve these particular

burdens on religious exercise says nothing about the meaning of substan-

tial burden, generally speaking.

     Second, those pre-Smith decisions do not mark RFRA’s outer

boundaries. The Supreme Court itself explained that “the results would

be absurd if RFRA merely restored this Court’s pre-Smith decisions in

ossified form and did not allow a plaintiff to raise a RFRA claim unless

that plaintiff fell within a category of plaintiffs one of whom had brought

a free-exercise claim that this Court entertained in the years before

Smith.” Hobby Lobby, 573 U.S. at 715–16. Here, the panel decision ex-

cludes as insubstantial any burden on religion unlike the burdens

addressed in Sherbert and Yoder. That tactic is merely another way of

using pre-Smith precedent to harden RFRA in “ossified form.” Id. aTht


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715. Such a result is inconsistent with Hobby Lobby and its textually cen-

tered understanding of RFRA as “a law enacted to provide very broad

protection for religious liberty.” Id. (emphasis added).

     Third, Bowen and Lyng are readily distinguishable. Bowen involved

the government’s use of Social Security numbers in its “internal affairs,”

not a measure preventing religious worship. 476 U.S. at 699. In Lyng, the

government took steps to avoid disturbing “sites where specific rituals

take place” when building a road on federal land; here, the government’s

action will destroy a worship site. 485 U.S. at 454. And neither case in-

volved RFRA, which controls here.

     Judge Berzon rightly dissented from the panel’s decision. She criti-

cized the decision for embracing a “flawed test” that generates the

“absurd result” that “destroying a sacred site where [the Apache] have

performed religious ceremonies for centuries does not substantially bur-

den their religious exercise.” Op. 58 (Berzon, J., dissenting). Seizing the

panel’s logic by the roots, she explained that RFRA’s reference to Sher-

bert and Yoder only serves to codify the compelling interest test and that

decisions following Sherbert and Yoder tend to construe substantial bur-

den broadly. Id. at 58–59, 63. She added that other Supreme Court


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decisions offer “no reason to believe” that RFRA is “limited to situations

that fall squarely within the holdings of pre-Smith cases” and that if Nav-

ajo Nation actually contradicts those decisions, it should be considered

overruled by intervening Supreme Court precedent. Id. at 64 (quotation

omitted).

  C. Distorting the Substantial Burden Test Is Unnecessary to
     Avoid Impeding Critical Governmental Interests.

     Policy concerns evidently drove the panel’s adherence to Navajo

Nation and its tragically abridged conception of substantial burden.

“Were the scope of a substantial burden under RFRA broader than the

Sherbert/Yoder framework, any action the federal government were to

take, including action on its own land, would be subject to the personal-

ized oversight of millions of citizens.” Id. at 24 (citation omitted).

Avoiding that result was thought to give the panel’s construction of sub-

stantial burden “a strong practical basis.” Id.

     But rewriting federal statutes to avoid seemingly undesirable pol-

icy results lies beyond the judicial ken. Federal courts “cannot overrule

Congress’s judgement based on [their] own policy views.” SCA Hygiene

Prod. Aktiebolag v. First Quality Baby Prod., 580 U.S. 328, 345 (2017).



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      Distorting RFRA to avoid undue restrictions on federal authority is

not only illegitimate, but unnecessary. Congress crafted the statute to

allow for the government to exercise authority despite real burdens on

religious practice—if the government can satisfy the compelling interest

test. Congress deemed this tradeoff “workable” and invited courts to

“strik[e] sensible balances between religious liberty and competing prior

governmental interests.” 42 U.S.C. § 2000bb(a)(5); see, e.g., United States

v. Christie, 825 F.3d 1048, 1057 (9th Cir. 2016) (sustaining marijuana

laws against religious group); United States v. O’Neill, 2022 WL 1929068,

at *2 (11th Cir. 2022) (sustaining the prosecution of pacificist believers

for vandalizing Navy equipment). Here, the government’s interest in

managing federal lands already gets accounted for under the compelling

interest test. See Op. 77 (Berzon, J., dissenting). The government has

never tried to satisfy that test. Until it does, the panel’s prediction of un-

justified interference with the government’s management of federal

lands is premature. Altering the meaning of substantial burden to avoid

a result that RFRA might not require is unnecessary.




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  D. This Court Should Hold That the Land Exchange Involving
     Oak Flat Will Substantially Burden the Apache’s Religion.

      Without the distraction of Navajo Nation, determining whether

the proposed land exchange will substantially burden the religious exer-

cise of Apache Stronghold members becomes straightforward. The right

question is whether that exchange will hinder the Apache’s exercise of

religion to a considerable degree. No one disputes that it will. Solely be-

cause of a land exchange adopted by Congress, lands used by the Apache

people for worship will eventually be destroyed.

     Hobby Lobby rebuts the panel’s contrary decision. Its holding that

RFRA does not simply codify pre-Smith decisions “in ossified form” se-

verely undercuts the panel’s reasoning. Hobby Lobby, 573 U.S. at 715.

Equally problematic for the panel decision is Hobby Lobby’s holding that

a burden on religious exercise is substantial when the government hin-

ders the exercise of a sincerely held religious belief to a considerable

extent. 573 U.S. at 726. If imposing a multi-million-dollar penalty for ex-

ercising religion counts as a substantial burden, surely federal action

that will lead to the destruction of an ancient worship site is a substantial

burden too. Acknowledging the devastating effects on the Apache’s reli-

gious exercise as a substantial burden deservedly opens the door to

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potential relief under RFRA, even if it remains possible for the govern-

ment to justify its actions under the compelling interest test.

II. APPLYING RFRA HERE DOES NOT CONFLICT WITH THE PRINCIPLE
    THAT ONE CONGRESS CANNOT BIND A LATER CONGRESS.

     RFRA plainly declares that it applies to federal statutes enacted

after RFRA’s adoption “unless such [later-enacted] law explicitly ex-

cludes such application.” 42 U.S.C. § 2000bb-3(b). The United States and

some amici argue that this rule of construction conflicts with the anti-

entrenchment principle, which says that no Congress can validly bind a

future Congress. See Gov’t Opp. to Rehearing En Banc at 16–19; Appel-

lees’ Answering Brief at 16 n.3; American Exploration & Mining

Association Amicus Br. at 6–11. They also maintain that the land ex-

change is exempt from RFRA based on an implied conflict between them.

But these contentions overread and misapply the anti-entrenchment

principle. Although the panel did not take up this issue, the implications

of disregarding RFRA’s rule of construction are too serious to be ignored.




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     A. Applying the Anti-Entrenchment Principle to RFRA
        Would Conflict with Decisions of the Supreme Court and
        This Circuit.

            1. Supreme Court precedent

     Since RFRA’s adoption, the Supreme Court has never applied the

principle of legislative anti-entrenchment to block or curb its application.

Later-enacted statutes have been consistently subject to RFRA. Take Lit-

tle Sisters of the Poor Saints Peter and Paul Home v. Pennsylvania, 140

S. Ct. 2367, 2383 (2020). It held that federal agencies properly considered

RFRA when issuing a religious exemption from the Affordable Care Act’s

contraceptive mandate. The Court identified certain guideposts as deci-

sive: (1) “RFRA specifies that it ‘applies to all Federal law, and the

implementation of that law, whether statutory or otherwise,’” id. (quot-

ing 42 U.S.C. § 2000bb-3(a)); (2) “RFRA also permits Congress to exclude

statutes from RFRA’s protections,” id. (citing 42 U.S.C. § 2000bb-3(b));

(3) “[i]t is clear from the face of the statute that the contraceptive man-

date is capable of violating RFRA,” id.; and (4) “[t]he ACA does not

explicitly exempt RFRA,” id. (emphasis added). None of this reasoning

makes sense if the anti-entrenchment principle impliedly nullifies the

requirement for Congress to exempt RFRA expressly.


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     Or consider Hobby Lobby, 573 U.S. at 682. It brushed aside as ir-

relevant a rejected amendment to the Affordable Care Act “because any

Federal statutory law adopted after November 16, 1993 is subject to

[RFRA] unless such law explicitly excludes such application by reference

to [RFRA].” Id. at 719 n.30 (citation omitted) (emphasis in original). The

Court explained that “[i]t is not plausible to find such an explicit refer-

ence in the meager legislative history on which the dissent relies.” Id. at

719 n.30. Once again, the Court accepted RFRA’s command that later-

enacted statutes can avoid applying RFRA only by saying so explicitly.

Missing was any suggestion RFRA’s express-statement provision some-

how offends the anti-entrenchment principle.

     Likewise, Bostock v. Clayton County, 140 S. Ct. 1731, 1754 (2020),

says that “[b]ecause RFRA operates as a kind of super statute, displacing

the normal operation of other federal laws, it might supersede Title VII’s

commands in appropriate cases.” Id. (citing 42 U.S.C. § 2000bb-3). If the

Court understood RFRA to be modified by the anti-entrenchment princi-

ple, surely it would have included some modifier before “federal laws” like




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“pre-RFRA” or “older.” While Title VII pre-dates RFRA, Bostock implies

that RFRA validly applies to statutes enacted after its adoption.5

            2. Ninth Circuit precedent

     This Court’s decisions deny that RFRA violates the anti-entrench-

ment principle. One case said that “RFRA amends the entire United

States Code.” Christie, 825 F.3d at 1065 n.6. That statement is unquali-

fied; Christie underscores that this Court takes RFRA’s temporal reach

seriously. Similarly, in United States v. Zimmerman, 514 F.3d 851 (9th

Cir. 2007), the Court remanded a case to reconsider a RFRA defense to a

2004 statute, see id. at 855–56—a futile proceeding if RFRA did not apply

to later-enacted statutes. See also Fernandez v. Mukasey, 520 F.3d 965,

966 (9th Cir. 2008) (discussing RFRA as a defense to a later-enacted 1996

immigration amendment).




5 These decisions under RFRA are unsurprising since other federal stat-
utes also direct Congress to apply a law unless expressly exempted. See,
e.g., Administrative Procedure Act, 5 U.S.C. § 559 (no later statute will
“supersede or modify” certain provisions relating to administrative law
judges “except to the extent that it does so expressly”); National Emer-
gencies Act, 50 U.S.C. § 1621(b) (no later-enacted statute “shall
supersede this subchapter unless it does so in specific terms”).
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            3. Seventh Circuit precedent

      Embracing the government’s anti-entrenchment argument would

create an intercircuit split. In Korte v. Sebelius, 735 F.3d 654 (7th Cir.

2013), the Seventh Circuit rejected the same arguments pressed by the

government here. Korte began with the premise that “RFRA applies ret-

rospectively and prospectively to ‘all Federal law.’” Id. at 672 (quoting 42

U.S.C. § 2000bb-3(a)). The court then observed that “[p]rospective appli-

cation is qualified by the rule that ‘statutes enacted by one Congress

cannot bind a later Congress, which remains free to repeal the earlier

statute, to exempt the current statute from the earlier statute, to modify

the earlier statute, or to apply the earlier statute as modified.’” Id. (quot-

ing Dorsey v. United States, 567 U.S. 260, 274 (2012)). But the court

explained that “RFRA accounts for this principle too; the statute does not

apply to a subsequently enacted law if it ‘explicitly excludes such appli-

cation by reference to this chapter.’” Id. at 672–73 (quoting 42 U.S.C. §

2000bb-3(b)).

      B. The Contested Land Transfer Provision Does Not Repeal
         RFRA Expressly.

      Even without contrary precedent, it is hard to see how RFRA vio-

lates the anti-entrenchment principle. Requiring Congress to state

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explicitly when RFRA does not apply does not subtract from Congress’s

authority. RFRA leaves Congress free to determine whether and how far

RFRA applies to later-enacted statutes. See generally Eric A. Posner &

Adrian Vermeule, Legislative Entrenchment: A Reappraisal, 111 YALE

L.J. 1665, 1697–99 & n.94 (2002) (rejecting the anti-entrenchment prin-

ciple as a reason to question rules like RFRA’s).

     There is no express repeal of RFRA in this case. Nothing in the Oak

Flat land-transfer rider (known as Section 539p) expresses an overt in-

tent to disregard RFRA, since it says nothing about RFRA, religious

liberty, religion, or sacred sites. See 16 U.S.C. § 539p. Nor does Section

539p’s legislative history say anything about RFRA. None of this should

be surprising because the rider was “jammed into th[e] defense bill …

without debate.” 160 CONG. REC. S6735 (daily ed. Dec. 12, 2014) (state-

ment of Sen. Ron Wyden).

     C. Interpreting Section 539p as an Implied Repeal of RFRA
        Would Violate the Presumption Against Implied Repeals.

     Lacking an express repeal, the government insists that any incon-

sistency with Section 539p renders RFRA repealed by implication. But

that argument offends the canon against implied repeals. See ANTONIN



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SCALIA & BRYAN A. GARNER, READING LAW: THE INTERPRETATION                  OF   LE-

GAL TEXTS 279 (2012). Under that canon, it is a “cardinal rule that repeals


by implication are not favored.” Traynor v. Turnage, 485 U.S. 535, 536

(1988) (cleaned up). The Supreme Court has expressed “‘especially

strong’ aversion to implied repeals of standalone laws through appropri-

ation riders.” Ctr. for Investigative Reporting v. U.S. Dep’t of Just., 14

F.4th 916, 932 n.7 (9th Cir. 2021) (quoting Me. Cmty. Health Options v.

United States, 140 S. Ct. 1308, 1323 (2020)). This “especially strong aver-

sion” to finding implied repeals in appropriations riders makes good

sense for land-transfer riders. Courts do not assume that members of

Congress “review exhaustively the background of every [rider] before vot-

ing on [it].” Tenn. Valley Auth. v. Hill, 437 U.S. 153, 190 (1978). That

assumption is spot-on here. Congress voted on the Oak Flat land transfer

without debating its rationale and lawfulness. See 160 CONG. REC. S6735

(daily ed. Dec. 12, 2014) (statement of Sen. Ron Wyden) (“Neither the

Senate Energy and Natural Resources Committee nor the House of Rep-

resentatives has approved that provision this Congress, yet it is being

jammed into this defense bill today without debate.”).




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     Settled rules for discerning an implied repeal are “extremely strict.”

Ledezma-Galicia v. Holder, 636 F.3d 1059, 1069 (9th Cir. 2010). Implied

repeals “will not be presumed unless the intention of the legislature to

repeal [is] clear and manifest.” Hawaii v. Off. of Haw. Affs., 556 U.S. 163,

175 (2009) (quoting Nat’l Ass’n of Home Builders v. Def’rs of Wildlife, 551

U.S. 644, 662 (2007)); accord Ass’n of Civilian Technicians, Silver Barons

Chapter v. Fed. Lab. Rels. Auth., 200 F.3d 590, 592 (9th Cir. 2000) (ob-

serving that to find repeal by implication “Congress’s intent to replace

the existing statute” must be “unambiguous”).

     In this circuit, “such an intention [to repeal a prior statute] is not

‘clear and manifest’ simply because ‘the two statutes produce differing

results when applied to the same factual situation’” since “that no more

than states the problem.” Ledezma-Galicia, 636 F.3d at 1070 (citation

omitted). Finding a repeal by implication requires proof that “the later

statute expressly contradicts the original act.” Nat’l Ass’n of Home Build-

ers, 551 U.S. at 662 (cleaned up) (emphasis added). Absent an express

repeal, any conflict between the statutes must be “irreconcilable”—mean-

ing “such a construction is absolutely necessary in order that the words




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of the later statute shall have any meaning at all”—to find an implied

repeal. Id. at 662, 663 (cleaned up).

     To determine whether Congress expressed a clear and manifest in-

tention to “repeal or modify” an earlier statute, courts “focus on the

language of the [later] statute.” Tinoqui-Chalola Council of Kitanemuk

& Yowlumne Tejon Indians v. U.S. Dep’t of Energy, 232 F.3d 1300, 1307

(9th Cir. 2000). Insofar as that language is “ambiguous,” courts also “con-

sider the relevant legislative history.” Id.

     Construing the eleventh-hour appropriations rider embodied in

Section 539p as an implicit repeal of RFRA—a statute that Congress

adopted almost unanimously following intense congressional focus—

would flout these principles. See, e.g., Morton v. Mancari, 417 U.S. 535,

550 (1974) (“congressional silence” like this cannot be “read … as effectu-

ating a repeal by implication”); Kaiser Steel Corp. v. Mullins, 455 U.S. 72,

88 (1982) (“The statutory language provides no basis for implying such a

repeal, and nowhere in the legislative history is there any mention that

[the later statute] might conflict with other laws.”).

     Nor does the land-exchange rider pose an irreconcilable conflict

with RFRA. A side-by-side comparison with Section 539p discloses no


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conflict at all, much less an irreconcilable one. As-applied conflicts like

those identified by the government and its amici fail the standard for an

implied repeal. See, e.g., Rodriguez v. United States, 480 U.S. 522, 524

(1987) (“Nothing in the language of these two provisions suggest the ex-

istence of [an] irreconcilable conflict.”) (cleaned up). Given the absence of

an express repeal and no text in Section 539p evincing an implied repeal,

it follows that Section 539p was adopted subject to RFRA—like every

other statute adopted by Congress since it passed RFRA in 1993.

     Even if Section 539p were ambiguous, another canon of construc-

tion comes into play. “[S]tatutes are to be construed liberally in favor of

the Indians, with ambiguous provisions interpreted to their bene-

fit.” Montana v. Blackfeet Tribe of Indians, 471 U.S. 759, 766 (1985); see

also Ysleta del Sur Pueblo v. Texas, 142 S. Ct. 1929, 1941 n.3 (2022) (char-

acterizing this rule as “long established by our precedents”). Divining an

implied repeal of RFRA from Section 539p would disregard the canon in

favor of Native Americans and should be rejected for that reason alone.6




6 Besides, the implied repeal argument is premature. If Section 539p sat-
isfies the compelling interest test, there is no conflict with RFRA and the
notion of an implied repeal is irrelevant.
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  D. Applying RFRA Here Satisfies the Specific-Controls-the-
     General Canon.

     Some amici further argue that Section 539p should repeal RFRA’s

rule of construction because of the canon that the specific controls the

general. See American Exploration & Mining Association Amicus Brief,

at 8–9. That argument is flawed in two respects.

     First, amici confuse which statute is specific and which is general.

Since this case is about a religious liberty claim against the federal gov-

ernment, it is RFRA—not Section 539p—that addresses the specific issue

at hand. Section 539p speaks generally of “assess[ing] the effects of the

mining and related activities … on the cultural and archeological re-

sources that may be located on the Federal land” conveyed. 16 U.S.C. §

539p(c)(9)(C)(i). Viewed correctly, Section 539p is the general statute and

RFRA the specific one.

     Second, even if Section 539p were the specific statute, the canon of

specific/general statutory priority is hardly a wooden rule. “[W]here there

is no clear intention otherwise, a specific statute will not be controlled or

nullified by a general one, regardless of the priority of enactment.” Craw-

ford Fitting Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 445 (1987) (citation

omitted) (emphasis in original). Congress expressed a “clear intention

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otherwise” in RFRA by directing that it applies to “all Federal law,” in-

cluding statutes enacted after RFRA, “unless such law explicitly excludes

such application.” 42 U.S.C. § 2000bb-3(a) and (b). Since RFRA expresses

a “clear intention” to apply to later-enacted statutes, the specific-controls-

the-general canon does not apply.

      Also, that canon most forcefully applies “when the two [statutes]

are interrelated and closely positioned.” RadLAX Gateway Hotel, LLC v.

Amalgamated Bank, 566 U.S. 639, 645 (2012) (quotation omitted). In fact,

the Supreme Court has tended to apply the canon to differing portions of

the same statute rather than across different statutes. See, e.g., Bloate v.

United States, 559 U.S. 196, 207 (2010); N.L.R.B. v. SW Gen., Inc., 137 S.

Ct. 929, 941 (2017).7 By that standard, the case for applying the canon

fizzles out; any relation between RFRA and Section 539p is remote.

III. SUPREME COURT PRECEDENTS TEACH THAT RFRA SHOULD BE
     INTERPRETED AND APPLIED AS WRITTEN.

      The panel decision is objectionable not only because it flouts the

statute’s text and precedent in detail, but because it departs from the




7Declining to apply RFRA for either reason offends the canon against
superfluity by nullifying the statute’s express-reference requirement. See
Rubin v. Islamic Republic of Iran, 138 S. Ct. 816, 824 (2018).
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Supreme Court’s demonstrated commitment to read and apply RFRA as

written. True, the Court has never addressed the precise issue here—

whether the government imposes a substantial burden on religious prac-

tice only when it imposes a penalty or denies a benefit. But Supreme

Court decisions repeatedly affirm RFRA as a broad protection for reli-

gious freedom and reject attempts to diminish or disregard the statute’s

actual terms through judicial construction. That text-centered approach

to RFRA should heavily influence how this Court resolves the questions

posed by the panel decision.

     A. Take O Centro, 546 U.S. at 418. There, the Court unanimously

held that RFRA requires courts to fashion exceptions to generally appli-

cable federal laws that impose a substantial burden on religious practice,

unless the government satisfies the compelling interest test. See id. at

439. O Centro elucidates the legal framework established by RFRA. In

doing so, it exemplifies the Court’s resolve to read and apply the statute

as written.

     O Centro arose when a small religious group sued to prevent the

federal government from enforcing a federal ban on the use of a plant-




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based hallucinogenic, hoasca, for sacramental tea. Id. at 425–26. The gov-

ernment admitted that this religious exercise was sincere, id. at 425–26,

yet it claimed any use of hoasca violates the Controlled Substances Act,

id. at 434. RFRA offered no defense, the government said, “because the

Controlled Substances Act serves a compelling purpose and simply ad-

mits of no exceptions.” Id. at 430.

     The Court rejected this “categorical approach.” Id. It explained that

“RFRA requires the Government to demonstrate that the compelling in-

terest test is satisfied through application of the challenged law … [to]

the particular claimant whose exercise of religion is being substantially

burdened.” Id. at 430–31. Under RFRA, a court must “scrutinize[e] the

asserted harm of granting specific exemptions to particular religious

claimants.” Id. at 431. The government’s “mere invocation” of the dangers

of using drugs prohibited by the Controlled Substances Act fails to iden-

tify “the harms posed by … the circumscribed, sacramental use of

hoasca.” Id. at 432. Since Congress exempted the religious use of peyote—

another regulated drug—and allowed the Attorney General to “exempt[ ]

certain people from its requirements,” the case against exemptions was




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weak. Id. at 433–34. Nor did the Court accept that the Controlled Sub-

stances Act is not “amenable to judicially crafted exceptions.” Id. at 434

(emphasis in original). RFRA directs “courts [to] strike sensible balances,

pursuant to a compelling interest test that requires the Government to

address the particular practice at issue.” Id. at 439. Since the government

could not satisfy the compelling-interest test with respect to the sacra-

mental use of hoasca, RFRA required the government not to prosecute

objecting religious believers. Id.

     B. Then there’s Hobby Lobby, 573 U.S. at 682. At issue was whether

RFRA shielded Christian businesses against a federal regulation requir-

ing employers to provide abortifacient contraceptives to employees as

part of their health plans. Id. at 691. The Court held that RFRA required

the government to let Hobby Lobby and other religiously objecting busi-

nesses enjoy the same accommodation that HHS already devised for

nonprofit organizations with religious objections to the contraceptive

mandate. Id. at 730–31.

     Hobby Lobby characterized RFRA as providing “very broad protec-

tion for religious liberty.” Id. at 693 (emphasis added). Accordingly, it




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rejected the argument that pre-Smith decisions circumscribe RFRA’s full

extent. Id. at 715–16.

     Hobby Lobby likewise brushed aside the government’s attempt to

distort the substantial burden test. The government’s “main argument”

was that “the connection between what the objecting parties must do …

and the end that they find to be morally wrong … is simply too attenu-

ated.” Id. at 723. The Court demurred. It found that the government’s

inquiry “dodges the question that RFRA presents (whether the HHS

mandate imposes a substantial burden on the ability of the objecting par-

ties to conduct business in accordance with their religious beliefs).” Id. at

724 (emphasis in original). Worse, the government’s reading of “substan-

tial burden” misdirects courts into asking “whether the religious belief

asserted in a RFRA case is reasonable.” Id. RFRA invites courts to adju-

dicate only whether an asserted religious belief reflects “an honest

conviction.” Id. at 725 (quoting Thomas, 450 U.S. at 716). Since the busi-

nesses’ religious objections were indisputably sincere, it remained only to

decide whether the burden was substantial. It was. “Because the contra-

ceptive mandate forces them to pay … as much as $475 million per year




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in the case of Hobby Lobby … the mandate clearly imposes a substantial

burden on those [religious] beliefs.” Id. at 726.

     The panel decision conflicts with Hobby Lobby in two related re-

spects. Where Hobby Lobby rejected attempts to confine RFRA to the

facts of pre-Smith case law, the panel insisted that such facts conclu-

sively fix the meaning of substantial burden. And where Hobby Lobby

requires a court to measure substantial burden by the degree of govern-

ment force deployed to compel legal compliance, the panel looked to rigid

categories of government penalties and benefits.

     C. And in Bostock, 140 S. Ct. at 1731, the Court called RFRA “a kind

of super statute”—a law so potent that it “displac[es] the normal opera-

tion of other federal laws.” Id. at 1754. That label is remarkable. First, it

appears in a passage alongside other statutes and legal doctrines re-

sponding to the Court’s “concern[ ] with preserving the promise of free

exercise of religion enshrined in our Constitution.” Id. Second, Bostock

acknowledges that RFRA “might supersede Title VII’s commands in ap-

propriate cases”—even in cases alleging the denial of civil rights. Id.

       These decisions show that the Supreme Court interprets and ap-

plies RFRA as a broad protection for the exercise of religion. Again and


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again, the Court has repudiated efforts to dilute or distort the statute

through judicial construction. That is why the Court rebuffed attempts

to let the government satisfy the compelling interest test by reciting a

statute’s broad purposes or to dispute whether a RFRA claimant’s sincere

religious objections are reasonable. See O Centro, 546 U.S. at 431; Hobby

Lobby, 573 U.S. at 724. The panel decision marches in the opposite direc-

tion by adopting a narrowing construction inconsistent with RFRA’s

language and precedent. Because it diminishes RFRA based on an inter-

pretation at odds with the statutory text and Supreme Court precedent,

that decision should be rejected and the district court reversed.




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                                 CONCLUSION

      For all these reasons, the Court should reverse the district court.



January 9, 2023                             Respectfully submitted,

                                            /s/ Alexander Dushku
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